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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                             April 13, 2023


Ms. Cynthia Barmore
U.S. Department of Justice
Civil Division, Appellate Section
950 Pennsylvania Avenue, N.W.
Washington, DC 20530

Ms. Jessica Lynn Ellsworth
Hogan Lovells US, L.L.P.
555 13th Street, N.W.
Columbia Square
Washington, DC 20004

Ms. Kaitlyn Golden
Hogan Lovells US, L.L.P.
555 13th Street, N.W.
Columbia Square
Washington, DC 20004

Mr. Marlan Golden
Hogan Lovells US, L.L.P.
555 13th Street, N.W.
Columbia Square
Washington, DC 20004

Ms. Sarah Elaine Harrington
U.S. Department of Justice
Civil Division
950 Pennsylvania Avenue, N.W.
Washington, DC 20530

Mr. Michael S. Raab
U.S. Department of Justice
Civil Division, Appellate Section
950 Pennsylvania Avenue, N.W.
Room 7237
Washington, DC 20530

Mr. Daniel Schwei
U.S. Department of Justice
Civil Division, Federal Programs Branch
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1100 L. Street, N.W.
Washington, DC 20005

Ms. Delia Scoville
Hogan Lovells US, L.L.P.
555 13th Street, N.W.
Columbia Square
Suite 10.415c
Washington, DC 20004

Ms. Danielle Desaulniers Stempel
Hogan Lovells US, L.L.P.
555 13th Street, N.W.
Columbia Square
Washington, DC 20004

Ms. Catherine Emily Stetson
Hogan Lovells US, L.L.P.
555 13th Street, N.W.
Columbia Square
Washington, DC 20004

      No. 23-10362     Alliance Hippocratic Medicine v. FDA
                       USDC No. 2:22-CV-223


Dear Ms. Barmore, Ms. Ellsworth, Ms. Golden, Mr. Golden, Ms.
Harrington, Mr. Raab, Mr. Schwei, Ms. Scoville, Ms. Stempel, Ms.
Stetson,
In light of the court order of April 12, 2023 granting the motion
to expedite the above captioned appeal, please adhere to the
following expedited briefing schedule.
  •   Appellants brief is due on or before 04/26/2023
  •   Appellees brief is due on or before 05/08/2023
  •   Appellants reply brief is due on or before 05/12/2023
Paper copies of the briefs and record excerpts must be sent by
overnight delivery to the Clerk’s Office.
Oral argument will take place in person, in New Orleans, on May
17, at 1:00 pm CT. Oral argument is extended to 40 minutes per
side. A copy of the court’s printed calendar indicating the exact
date and time of the hearing will be provided prior to the hearing
date. Please adhere to the expedited briefing schedule without
requesting extensions in order to ensure the availability of the
briefs to the court prior to oral argument.
Record Excerpts: 5th Cir. R. 30.1.7(c) provides that the electronic
PDF version of the record excerpts should contain pages
representing the "tabs" identified in the index of the document.
However, we remind attorneys that the actual paper copies of record
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excerpts filed with the court must contain actual physical tabs
that extend beyond the edge of the document, to facilitate easy
identification and review of tabbed documents.
Brief Covers: THE CASE CAPTION(S) ON BRIEF COVERS MUST BE EXACTLY
THE SAME AS THE CASE CAPTION(S) ON THE ENCLOSED TITLE CAPTION
SHEET(S). YOU WILL HAVE TO CORRECT ANY MODIFICATIONS YOU MAKE TO
THE CAPTION(S) BEFORE WE SUBMIT YOUR BRIEF TO THE COURT.
Dismissal of Appeals: The clerk may dismiss appeals without notice
if you do not file a brief on time, or otherwise fail to comply
with the rules.
Appearance Form: If you have not electronically filed a "Form for
Appearance of Counsel," you must do so within 14 days of this date.
You must name each party you represent, See Fed. R. App. P. and 5th
Cir. R. 12. The form is available from the Fifth Circuit’s website,
www.ca5.uscourts.gov.
ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U S
District Court on a per case basis. Counsel can expect to receive
notice once access to the EROA is available.      Counsel must be
approved for electronic filing and must be listed in the case as
attorney of record before access will be authorized. Instructions
for accessing and downloading the EROA can be found on our website
at                      http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm. Additionally, a link to the instructions will be
included in the notice you receive from the district court.
Sealed documents, except for the presentence investigation report
in criminal appeals, will not be included in the EROA. Access to
sealed documents will continue to be provided by the district court
only upon the filing and granting of a motion to view same in this
court.
Guidance Regarding Citations in Pleadings.
5th Cir. R. 28.2.2 grants the Clerk the authority to create a
standard format for citation to the electronic record on appeal.
You must use the proper citation format when citing to the
electronic record on appeal.
  A. In single record cases, use the short citation form, "ROA"
     followed by a period, followed by the page number.     For
     example, "ROA.123."
  B. For multiple record cases, cite "ROA" followed by a period,
     followed by the Fifth Circuit appellate case number of the
     record referenced, followed by a period, followed by the
     page of the record. For example, "ROA.13-12345.123.".
  C. Please note each individual citation must end                  using   a
     termination of a period (.) or semicolon (;).
Brief Template: The clerk’s office offers brief templates and the
ability to check the brief for potential deficiencies prior to
docketing to assist in the preparation of the brief. To access
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these options, log in to CM/ECF and from the Utilities menu, select
‘Brief Template’ (Counsel Only) or ‘PDF Check Document’.
Reminder as to Sealing Documents on Appeal: Our court has a strong
presumption of public access to our court’s records, and the court
scrutinizes any request by a party to seal pleadings, record
excerpts, or other documents on our court docket. Counsel moving
to seal matters must explain in particularity the necessity for
sealing in our court. Counsel do not satisfy this burden by simply
stating that the originating court sealed the matter, as the
circumstances that justified sealing in the originating court may
have changed or may not apply in an appellate proceeding. It is
the obligation of counsel to justify a request to file under seal,
just as it is their obligation to notify the court whenever sealing
is no longer necessary.     An unopposed motion to seal does not
obviate a counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk

                                By: _________________________
                                Lisa E. Ferrara, Deputy Clerk
                                504-310-7675
Enclosure(s)
cc w/encl:
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                          Case No. 23-10362




Alliance for Hippocratic Medicine; American Association of Pro-
Life Obstetricians & Gynecologists; American College of
Pediatricians; Christian Medical & Dental Associations; Shaun
Jester, D.O.; Regina Frost-Clark, M.D.; Tyler Johnson, D.O.;
George Delgado, M.D.,
                      Plaintiffs - Appellees
v.
U.S. Food & Drug Administration; Robert M. Califf, Commissioner
of Food and Drugs; Janet Woodcock, M.D., in her official
capacity as Principal Deputy Commissioner, U.S. Food and Drug
Administration; Patrizia Cavazzoni, M.D., in her official
capacity as Director, Center for Drug Evaluation and Research,
U.S. Food and Drug Administration; United States Department of
Health and Human Services; Xavier Becerra, Secretary, U.S.
Department of Health and Human Services,
                      Defendants - Appellants
v.
Danco Laboratories, L.L.C.,
                      Intervenor - Appellant
